          Case 6:21-cv-00292-ADA Document 1-3 Filed 03/25/21 Page 1 of 20
                                      I 1111111111111111
                                                11111
                                                  111111111111111
                                                          111111111111111
                                                                  IIIIIIIIIIIIIII IIIIIIII
                                                                                           US009502612B2                                            C
c12)   United States Patent                                          (IO)   Patent No.:     US 9,502,612 B2
       Margalit                                                      (45)   Date of Patent:     Nov. 22, 2016

(54)   LIGHT EMITTING DIODE PACKAGE WITH                                        (2013.01); H0JL 2924/12044 (2013.01); H0lL
       ENHANCED HEAT CONDUCTION                                                         2924/1461 (2013.01); H0lL 2933/0066
                                                                                                                                       (2013.01)
(71)   Applicant: Mordehai Margalit, Zichron Yaaqov               (58)    Field of Classification Search
                  (IL)                                                    CPC ... H0lL 33/64; H0lL 33/644; H0lL 33/641;
                                                                                  H0lL 33/642; H0lL 33/645; H0lL 33/647;
(72)   Inventor:     Mordehai Margalit, Zichron Yaaqov                            H0lL 33/648; H0lL 33/483; H0lL 33/486;
                     (IL)                                                          H0lL 2933/0033; H0lL 2933/0075; H01L
                                                                                      2933/64; H0lL 2933/644; H0lL 33/48;
(73)   Assignee: Viagan Ltd., Aichron Yaakov (IL)                                                                                    H0lL 33/62
                                                                          USPC ...................................................... 257 /98, 99
( *)   Notice:       Subject to any disclaimer, the term ofthis           See application file for complete search history.
                     patent is extended or adjusted under 35
                     U.S.C. 154(b) by 0 days.                     (56)                       References Cited

(21)   Appl. No.: 14/047,715                                                        U.S. PATENT DOCUMENTS
                                                                         4,797,715 A     *    1/1989 Thillays ................ H0lL 33/005
(22)   Filed:        Oct. 7, 2013                                                                                                  257/627
                                                                         6,501,091 Bl        12/2002 Bawendi
(65)                   Prior Publication Data
                                                                                                 (Continued)
       US 2014/0042479 Al           Feb. 13, 2014
                                                                                       OTHER PUBLICATIONS
                 Related U.S. Application Data                    US International Searching Authority of the Patent Cooperation
(63)   Continuation-in-part of application No. 13/424,875,        Treaty, "Application No. PCT/IBB/03043 International Search
       filed on Mar. 20, 2012, now Pat. No. 9,406,854,            Report", Aug. 18, 2014.
       which is a continuation-in-part of application No.
       PCT/IL2010/000772, filed on Sep. 20, 2010.                 Primary Examiner - David Zameke
                                                                  (74) Attorney, Agent, or Firm - Intrinsic Law Corp.;
(60)   Provisional application No. 61/710,156, filed on Oct.      Ibrahim M. Hallaj
       5, 2012, provisional application No. 61/244,046, filed
       on Sep. 20, 2009, provisional application No.              (57)                         ABSTRACT
       61/351,875, filed on Jun. 5, 2010.
                                                                  A light emitting diode (LED) device and packaging with
(51)   Int. Cl.                                                   enhance heat conduction. An LED in a wafer level process-
       H0JL 33/48               (2010.01)                         ing (WLP) package is disclosed using vias in the silicon to
       H0JL 33162               (2010.01)                         route the electrical connections to the LED backside and a
       H0JL 33/00               (2010.01)                         dedicated hole in the silicon with a direct heat conduction
       H0JL 33/10               (2010.01)                         route from the LED to the printed circuit board. Certain
                          (Continued)                             layers act to promote mechanical, electrical, thermal, or
                                                                  optical characteristics of the device. The device avoids or
(52)   U.S. Cl.                                                   ameliorates heat dissipation problems found in conventional
       CPC ............. H0JL 33/10 (2013.01); H0JL 33/382        LED devices. Some embodiments include a plurality of
                  (2013.01); H0JL 33/486 (2013.01); H0JL          optically permissive layers, including an optically permis-
            33162 (2013.01); H0lL 33/46 (2013.01); H0lL           sive cover substrate comprising phosphors and/or quantum
                   33/48 (2013.01); H0lL 33/483 (2013.01);        dots.
            H0JL 33/52 (2013.01); H0JL 33/64 (2013.01);
                       H0JL 33/647 (2013.01); H0JL 2224/24                         12 Claims, 12 Drawing Sheets
           Case 6:21-cv-00292-ADA Document 1-3 Filed 03/25/21 Page 2 of 20


                                                        US 9,502,612 B2
                                                                  Page 2


(51)    Int. Cl.                                                           2008/0029570 Al*     2/2008 Shelton .                        A61B 17/068
        HOJL 33/38               (2010.01)                                                                                                227/175.1
        HOJL 33/52               (2010.01)                                 2008/0067 534 Al *   3/2008    Hsieh .................... H0lL 33/486
                                                                                                                                             257/98
        HOJL 33/46               (2010.01)                                 2008/0068845   Al     3/2008   Aida et al.
        HOJL 33/64               (2010.01)                                 2009/0108283   Al     4/2009   Kadotani et al.
                                                                           2009/0173958   Al     7/2009   Chakraborty et al.
(56)                    References Cited                                   2009/0262516   Al*   10/2009   Li ........................... H0lL 33/56
                                                                                                                                             362/84
                U.S. PATENT DOCUMENTS                                      2009/0267096   Al    10/2009   Kim
                                                                           2009/0273002   Al    11/2009   Chiou et al.
       7,232,754 B2  6/2007 Kirby et al.                                   2009/0283787   Al    11/2009   Donofrio et al.
       7,411,225 B2 *8/2008 Kim ...................... H0lL 33/486         2009/0291518   Al    11/2009   Kim et al.
                                                           257/100         2010/0025718   Al*    2/2010   Shi ........................ H0lL 33/483
     7,910,940 B2    3/2011 Koike et al.                                                                                                     257/99
     7,951,625 B2    5/2011 Kamei                                          2010/0053929   Al    3/2010    Bisberg
     8,044,412 B2 * 10/2011 Murphy .................. H0lL 23/60           2010/0068421   Al    3/2010    Tse et al.
                                                            257 /81        2010/0148193   Al    6/2010    Duong et al.
     8,278,213 B2   10/2012 Kameyama et al.                                2010/0207145   Al    8/2010    Yoo
 2003/0006418 Al     1/2003 Emerson et al.                                 2011/0006322   Al*   1/2011    Li ......................... H0lL 33/486
 2005/0017258 Al     1/2005 Fehrer et al.                                                                                                    257/98
 2006/0006404 Al     1/2006 Ibbetson et al.                                2011/0309382 Al      12/2011   Lowgren
 2006/0011935 Al     1/2006 Krames                                         2012/0034716 Al*      2/2012   Lin ......................... H0lL 33/58
 2006/0073692 Al     4/2006 Yoshida et al.                                                                                                   438/27
 2006/0081869 Al     4/2006 Lu et al.                                      2013/0049564 Al*     2/2013    Jung ................... HOlS 5/02469
 2006/0092532 Al     5/2006 Ouderkirk et al.                                                                                                 313/45
 2006/0097276 Al * 5/2006 Chen ....................... H0lL 33/62          2013/0105978 Al *     5/2013   Hung ...................... H0lL 33/60
                                                            257/99                                                                          257/751
 2006/0163683 Al     7/2006 Roth et al.                                    2013/0294471 Al*     11/2013   Palaniswamy ........ H0lL 33/486
 2006/0208271 Al*    9/2006 Kim ...................... H0lL 33/486                                                                        372/43.01
                                                           257/100         2014/0103798 Al*     4/2014    Yamanaka                       H05B 33/04
 2006/0278885 Al    12/2006 Tain et al.                                                                                                     313/512
 2006/0284321 Al    12/2006 Wu et al.                                      2014/0110728 Al*     4/2014    Lee ......................... H0lL 24/16
 2007/0166851 Al     7/2007 Tran et al.                                                                                                      257/88
 2007/0228386 Al* 10/2007 Shie ...................... H0lL 33/486
                                                            257/79     * cited by examiner
    Case 6:21-cv-00292-ADA Document 1-3 Filed 03/25/21 Page 3 of 20


U.S. Patent        Nov. 22, 2016   Sheet 1 of 12                      US 9,502,612 B2




              M

              M~
                                     (1)
                                    +J
                                     rn
                                    ...,
                                     s.....,       M
                                                        .
                                                            -
                                                            +!,,_-'
                                                            <(
                                                             !,,_
                                     ti)               t:l.O 0
                                    ..c            LL

                                                            -
                                                             !,,_
                                     ::,                    Cl..
                                     (/J




                                                   0
                                                   M
    Case 6:21-cv-00292-ADA Document 1-3 Filed 03/25/21 Page 4 of 20


U.S. Patent       Nov. 22, 2016    Sheet 2 of 12         US 9,502,612 B2




                        ~
                                       N
                        N              N


                 CV')
                 N




              "°
              N__.



                                             N
                                                 .
                            £
                            ffl}
                                             b.O
                                             LL.


                        U1,I
                  ;-J_                               0
                                                     N
    Case 6:21-cv-00292-ADA Document 1-3 Filed 03/25/21 Page 5 of 20


U.S. Patent                 Nov. 22, 2016   Sheet 3 of 12             US 9,502,612 B2




        m
        m




                                                            m
                                                             bl)
                                                                  •
                                                            "'~
                                                            w...




                      ,$',../'""~
                                    /
                  l
              N
              m
    Case 6:21-cv-00292-ADA Document 1-3 Filed 03/25/21 Page 6 of 20


U.S. Patent       Nov. 22, 2016   Sheet 4 of 12        US 9,502,612 B2




     0
     ~

         q"
         m
    Case 6:21-cv-00292-ADA Document 1-3 Filed 03/25/21 Page 7 of 20


U.S. Patent       Nov. 22, 2016   Sheet 5 of 12        US 9,502,612 B2




                                                       t.n
                                                         .
                                                       ·-
                                                        tu)
                                                       w...
    Case 6:21-cv-00292-ADA Document 1-3 Filed 03/25/21 Page 8 of 20


U.S. Patent       Nov. 22, 2016   Sheet 6 of 12        US 9,502,612 B2




                        0
                        r-1




    N
    '-.0



                                    C
                                    s
                                    t
                                    C
                                    C                           '-.0
                                    0
                                    Q                             .
                                    ffl                          tl.O
                                     E
                                     ..._                       u..
                                    (I.)
                                    _.r,
                                    I-




                ("(')
                LI')
                                    0
                                      I
                                    '-.0
    Case 6:21-cv-00292-ADA Document 1-3 Filed 03/25/21 Page 9 of 20


U.S. Patent       Nov. 22, 2016   Sheet 7 of 12        US 9,502,612 B2




                                                             ~
                                                               *

                                                             ·-
                                                              bO
                                                             u....




                T-4
              cm
               ~
    Case 6:21-cv-00292-ADA Document 1-3 Filed 03/25/21 Page 10 of 20


U.S. Patent       Nov. 22, 2016   Sheet 8 of 12        US 9,502,612 B2




                                                          00
                                                            •
                                                          ·-
                                                           b.O
                                                          LL
    Case 6:21-cv-00292-ADA Document 1-3 Filed 03/25/21 Page 11 of 20


U.S. Patent       Nov. 22, 2016   Sheet 9 of 12        US 9,502,612 B2
       Case 6:21-cv-00292-ADA Document 1-3 Filed 03/25/21 Page 12 of 20


U.S. Patent          Nov. 22, 2016       Sheet 10 of 12   US 9,502,612 B2




                                                                      .
                                                                     b.O
                                                                     LL




   0
   0
   M




                                     t
                                     0
                                     c...o
    Case 6:21-cv-00292-ADA Document 1-3 Filed 03/25/21 Page 13 of 20


U.S. Patent       Nov. 22, 2016   Sheet 11 of 12       US 9,502,612 B2




                                                                  .
                                                                t:l.O
                                                                LL.
    Case 6:21-cv-00292-ADA Document 1-3 Filed 03/25/21 Page 14 of 20


U.S. Patent       Nov. 22, 2016   Sheet 12 of 12       US 9,502,612 B2




                                                            N
                                                            ~

                                                             b,t)
                                                            ·-
                                                            LL
         Case 6:21-cv-00292-ADA Document 1-3 Filed 03/25/21 Page 15 of 20


                                                    US 9,502,612 B2
                              1                                                                     2
    LIGHT EMITTING DIODE PACKAGE WITH                                    Light emitting devices generally include a semiconductor
        ENHANCED HEAT CONDUCTION                                      chip, or die, including a p-n junction formed upon an
                                                                      epitaxial layer grown on a substrate, such as, sapphire,
               RELATED APPLICATIONS                                   silicon, silicon carbide, or gallium arsenide. The substrate
                                                                 5    may subsequently be trimmed, patterned, or removed alto-
   This application is related to and claims the benefit and          gether. In addition to phosphor luminescent transitions, the
priority of U.S. Provisional Application No. 61/710,156               wavelength distribution of the light generated by the LED
entitled, "Light Emitting Diode Package with Enhanced                 depends on the material from which the p-n junction is
Heat Conduction" filed on Oct. 5, 2012, which is hereby               fabricated and the structure of the thin epitaxial layers that
                                                                 10   make up the active region of the device.
incorporated by reference. This application is also a con-
                                                                         The p-njunction semiconductor die is typically enclosed
tinuation in part of U.S. application Ser. No. 13/424,875
                                                                      in a package. A LED package can perform a number of
having the same title, claiming the benefit and priority of
                                                                      functions and provide a number of benefits. For example, a
U.S. Provisional Application Nos. 61/244,046, filed on Sep.           LED package can provide mechanical support and environ-
20, 2009, and 61/351,875, filed on Jun. 5, 2010, as well as      15   mental protection for the semiconductor die, as well as
to PCT Application Number PCT/IL2010/000772, filed Sep.               providing electrical leads for connecting the die to an
20, 2010.                                                             external circuit, and heat sinks for efficient heat extraction
                                                                      from the chip.
                   TECHNICAL FIELD                                       It is often desirable to incorporate phosphor into a solid
                                                                 20   state light emitting device package to enhance the emitted
   The present application is directed to a light em1ttmg             radiation in a particular frequency band and/or to convert at
diode (LED) device implemented on a wafer substrate layer             least some of the radiation to another frequency band.
and permits efficient thermal conductivity properties and             Depending on the application, phosphorescent coatings and/
repeatable manufacture of the same and can be used in FET,            or suspensions are often used to broaden the bandwidth of
RF and power transistor applications.                            25   the emitted light. Phosphors absorb some of the photons
                                                                      emitted from the LED and temporarily stores its energy
                     BACKGROUND                                       before releasing it in another wavelength photon.
                                                                         In general, phosphors absorb light having shorter wave-
   A light emitting diode (LED) is a semiconductor device             lengths and re-emit light having longer wavelengths. As
that is configured to receive electrical power to stimulate an   30   such, some or all of the light emitted by the LED chip at a
output of electromagnetic radiation commonly in the visible           first wavelength may be absorbed by the phosphor particles,
range of the spectrum (light). Portions of a LED comprise             which may responsively emit light at a second wavelength.
doped semiconductor materials that operate to combine                 For example, a single blue emitting LED chip may be
charge in a way that releases light energy from the body of           surrounded with a yellow phosphor, such as cerium-doped
the LED material. While the irradiance depends on the            35   yttrium aluminum garnet (YAG). The resulting light, which
operating conditions of the LED, the wavelength of the light          is a combination of blue light and yellow light, may appear
energy is determined by the band gap of the semiconductor             white to an observer. Photo luminescent events, in which a
materials, in addition to external interaction with various           chemical substrate absorbs and then re-emits a photon of
active optical covers and encapsulants.                               light, are fast, on the order of 10 nanoseconds. Light is
   Packaging of electronic devices, such as light emitting       40   absorbed and emitted at these fast time scales in cases where
diodes (LEDs) and other devices, represent a major cost in            the energy of the photons involved matches the available
the production of electronic parts. In one non-limiting               energy states and allowed transitions of the substrate.
example, LEDs which offer long lifetime, compact form                    Light-emitting diodes are used in applications as diverse
factor, superior energy efficiency, and RohS compliancy are           as aviation lighting, automotive lighting, advertising, gen-
expensive due to the packaging requirements which include        45   eral lighting, and traffic signals. LEDs have allowed new
sealing, optics, phosphor and efficient heat conduction.              text, video displays, and sensors to be developed, while their
There have been numerous efforts to reduce the cost of the            high switching rates are also useful in advanced communi-
electronic device packaging by using silicon based wafer              cations technology. LEDs are used as indicator lamps in
level assembly technologies. However, these approaches                many devices and are increasingly used for general lighting.
still require a carrier chip for the electronic device and in    50   Appearing as practical electronic components in 1962, early
most cases the carrier chip doubles the cost, and in the case         LEDs emitted low-intensity red light, but modem versions
of an LED triples the heat resistivity.                               are available across the visible, ultraviolet, and infrared
   Specifically, when electrical current is passed through a          wavelengths, with very high brightness.
LED (i.e., switched on), carrier electrons recombine with                LEDs have many advantages over incandescent light
holes within the device releasing energy in the form of          55   sources including lower energy consumption, longer life-
photons. This effect is called electroluminescence, and the           time, improved physical robustness, smaller size, and faster
color of the light (corresponding to the energy of the photon)        switching. However, LEDs powerful enough for room light-
is determined by the energy band gap of the semiconductor.            ing are relatively expensive, and require more precise cur-
LEDs are often small in radiative area (less than 1 mm 2 ).           rent and heat management than compact fluorescent lamp
Integrated optical components may be used to shape or            60   sources of comparable output.
change its radiation pattern.                                            LEDs compare favorably to other sources of light and are
   A LED package can also incorporate and perform optical             especially useful in certain applications and markets. For
functions. For example, a LED package can include optical             example, LED lighting generally provides advantages with
materials and/or structures, such as lenses, diffusors, light         respect to energy efficiency, compact, rugged, long-lasting
scattering layers, etc., that can direct light output by the     65   design and form factor, as well as other features. LED
semiconductor chip in a desired manner. These are typically           lighting compares favorably with other sources in the
bonded to the transmission face of the LED.                           amount of light energy generated in the visible electromag-
         Case 6:21-cv-00292-ADA Document 1-3 Filed 03/25/21 Page 16 of 20


                                                     US 9,502,612 B2
                              3                                                                      4
netic spectrum compared to the infra-red or heat energy                disposed on spacers on the carrier wafer. In other aspects, a
wasted by the light source. In addition, LED lights include            substantially optically transmissive layer covers the semi-
fewer environmentally damaging components when com-                    conductor LED.
pared to other light forms, and therefore provide better                  In yet other aspects, said at least one optically reflective
compliance with restrictions on hazardous substances              5    surface comprises metal or a dielectric stack. In another
(RohS) regulations.                                                    aspect, the semiconductor LED is affixed to said carrier
   That said, conventional LED devices can be relatively               wafer with an adhesive material which has the property of
costly to manufacture by some metrics when compared to                 high thermal conductivity. In other aspects, the semiconduc-
other light sources. One reason for this is the exacting               tor LED is affixed to said carrier wafer with an adhesive
                                                                  10   material which has the property of optical diffusion, trans-
packaging requirements for manufacturing LEDs. LED
packaging calls for proper clean conditions, micro-fabrica-            mission, reflection, or combination thereof. In another
tion facilities similar to other semiconductor manufacturing           aspect, the thermally conductive layer comprises metal or an
operations, sealing requirements, optical requirements, the            organic material with a physical property of high thermal
                                                                       conductivity.
use of phosphor in LED applications, as well as packaging         15
that is designed to efficiently handle the conduction of heat                             IN THE DRAWINGS
generated in the devices.
   Efforts have been made to reduce the cost of conventional              FIG. 1 represents the state of the art GaN LED chip;
LED packaging which uses silicon (Si) or ceramic based                    FIG. 2 depicts an exemplary LED die with a reflective
carrier substrates. LEDs mounted on an individual chip scale      20   layer in a horizontal construction;
carrier substrate are more expensive to process. Alterna-                 FIG. 3 illustrates an exemplary flip-chip method of LED
tively, LEDs are mounted on a carrier wafer, where the                 manufacturing in preparation of wafer level processing;
packaging process is done on many LEDs in parallel and the                FIG. 4 portrays an exemplary LED package with silicone
packaged LEDs are singulated at the end of the packaging               encapsulated peripheral reflectors;
process, results in a lower cost for the packaged LEDs. The       25      FIG. 5 illustrates an exemplary etching view during wafer
wafer based approach is termed wafer level assembly pack-              processing;
aging (WLP).                                                              FIG. 6 depicts an exemplary orthogonal view of the wafer
   Wafer-level packaging consists of extending the wafer fab           after etching vias and thermal conduction pad;
processes to include device interconnection and device                    FIG. 7 illustrates an exemplary profile view during wafer
protection processes. Other types of packaging performs           30   processing showing masking placements;
wafer dicing first and places the individual die in a plastic             FIG. 8 illustrates an exemplary method of passivation
package followed by attaching the solder bumps. Wafer-                 layer disposition;
                                                                          FIG. 9 illustrates an exemplary wafer with metal patterned
level packaging involves attaching the top and bottom outer
                                                                       thereto;
layers of packaging, and the solder bumps, to integrated          35      FIG. 10 demonstrates an exemplary orthogonal view of
circuit while still in the wafer, and then wafer dicing.
                                                                       the wafer with metal patterned thereto;
   However, these conventional techniques still require the               FIG. 11 demonstrates an exemplary orthogonal view of
use of a carrier substrate to support the LED, which can               the wafer showing solder masking; and
double the cost of making and packaging the LED device. In                FIG. 12 illustrates an exemplary LED package with
addition, the carrier substrate greatly increases the thermal     40   molten metal in a heat sink relief.
resistivity of the device and adversely affects its heat
removal characteristics. Hence it is desirable to provide a                            DETAILED DESCRIPTION
wafer level package for LEDs which does not require any
carrier substrate and uses the LED die only, alternatively, the           As mentioned above, the present invention relates to new
package provides a direct thermal connection from the LED         45   and improved methods and apparatus for LED packaging to
to the heat sink for efficient removal of the generated heat.          efficiently remove excess heat during active operation. In
Accordingly, there is a need for LED devices that do not               particular, the present invention discloses LED packaging
suffer from some or all of the above problems.                         with enhanced heat conduction using augmented thermal
                                                                       capacity materials and novel methods for processing thereof.
                        SUMMARY                                   50   Specifically, the present invention either redirects heat away
                                                                       from or bypasses through a silicon substrate in the context
   As mentioned above, the present inventions related to               of a horizontal LED assembly.
new and improved methods and apparatus for providing a                    In some embodiments, the present apparatus provides a
light emitting diode package which efficiently removes heat            LED package which conducts heats away from the LED die
and reflects optical energy away from a carrier wafer.            55   and reflects light energy away from the wafer. The present
Specifically, an improved LED in a wafer level processed               invention comprises optically reflective pads with enhanced
(WLP) package is disclosed using vias in the silicon to route          conduction properties relative to alternate materials which
the electrical connections to the LED backside and a dedi-             are used currently in the art. In one embodiment, reflecting
cated hole in the silicon with a direct heat conduction route          pads are disposed adjacent to wafer spacers and proximal the
from the LED to the printed circuit board.                        60   LED die. In another embodiment, the reflecting pads are
   In some aspects, the present apparatus provides a light             used in concert with an additional reflecting pad disposed
emitting device comprising a carrier wafer with an etched              directly adjacent to the doped LED surface.
recess and a semiconductor LED including doped and                        In one or more embodiments, the present invention pro-
intrinsic regions thereof. The semiconductor LED is affixed            vides a LED package which conducts excess thermal heat
to said carrier wafer proximate to the recess, and a thermally    65   away from the LED device via a novel heat sink apparatus.
conductive layer disposed adjacent to the semiconductor                Its methodology includes creating a void in the wafer
LED in the recess. In some aspects, optical reflectors are             beneath the mounted LED die and disposing metal proxi-
         Case 6:21-cv-00292-ADA Document 1-3 Filed 03/25/21 Page 17 of 20


                                                       US 9,502,612 B2
                                5                                                                        6
mate to the doped LED face. This allows for thermal                       as electrical contracts comprising Al or Ag to opt1m1ze
conduction to pass from LED device to the distal face of the              shorter wavelengths below 500 nm which GaN produces.
silicon wafer.                                                               In other embodiment the pads 23, 24, and reflective
   Modem LED devices are based on semiconducting mate-                    surface 26 can be fabricated with Gold Tin (Ag Sn) layers to
rials and their properties. For example, some LEDs are made          5    enable eutectic bonding of the LED to LED carrier. As is
using Gallium Nitride (GaN) which is a type of bandgap                    known in the art, a eutectic system is a mixture of chemical
semiconductor suited for use in high power LEDs. Ga LEDs                  compounds or elements that have a single chemical com-
are typically epitaxially grown on a sapphire substrate.                  position that solidifies at a lower temperature than any other
These LEDs comprise a P-I-N junction device having an                     composition made up of the same ingredients.
intrinsic (I) layer disposed between a N-type doped layer            10      In those embodiments using conductive pads or layers,
and a P-type doped layer. The device is driven using suitable             electrical isolation must be provided from the GaN layers.
electrical driving signals by way of electrodes or contacts               This can be achieved with a silicon oxide (SiO) layer
coupled to the N and the P type portions of the LED.                      deposited using plasma enhanced chemical vapor deposition
Electronic activity causes the emission of visible electro-               (PECVD). Since current manufacturing processes include
magnetic radiation (light) from the intrinsic portion of the         15   SiO passivation, a layer is all that is required is to pattern the
device according to the electromotive force applied thereto               electrical pads and then deposit a second metal later for the
and configuration of the device.                                          reflective pad. The reflective layer(s) will also be used as a
   The embodiments described and illustrated herein are not               pad contact for heat dissipation. More information is dis-
meant by way of limitation, and are rather exemplary of the               closed in the related application U.S. patent application Ser.
kinds of features and techniques that those skilled in the art       20   No. 13/424,875 entitled, "Wafer Level Packaging of Elec-
might benefit from in implementing a wide variety of useful               tronic Devices" which is hereby incorporated by reference in
products and processes. For example, in addition to the                   its entirety.
applications described in the embodiments below, those                       The LED can be a vertical type LED or horizontal type
skilled in the art would appreciate that the present disclosure           LED where the pads are designed to be at the same height.
can be applied to making and packaging power integrated              25   GaN layers may be grown on one substrate and transferred
circuit (IC) components, radio frequency (RF) components,                 to another substrate in a laser lift off technique. Other laser
micro electro-mechanical systems (MEMS), or other dis-                    techniques known in the art are also not beyond the scope of
crete components.                                                         the present invention. It should be appreciated that GaN type
   Gallium Nitride LEDs can be epitaxially grown on Sili-                 LEDs are not the only kind of LED materials that can be
con, GaN, SiC or Sapphire substrates. FIG. 1 represents a            30   employed in the present discussion, but that the present
characteristic horizontal-type Ga LED chip 10. As                         description is merely illustrative so that those skilled in the
described, GaN layers 11 are grown upon a substrate 12.                   art can appreciate some preferred embodiments and methods
GaN is chosen for its wide band-gap and high brightness                   for making and designing the present LEDs.
properties. At minimum, GaN layers 11 comprise a n-type                      Similarly, in the following preferred and exemplary illus-
doped region disposed directly adjacent to substrate 12 and          35   trations, it is to be understood that many other similar and
electrically connected to pad 14 and p-type doped region                  equivalent embodiments will be apparent to those skilled in
electrically connected to pad 13.                                         the art and which accomplish substantially the same result.
   An active region makes up the interface of the GaN layers              This is true as to variations in the geometry, layout, con-
between the p-type and n-type regions. The active region is               figurations, dimensions, and choice of materials and other
between 10 to 20 microns thick and the source of photon              40   aspects described in the present examples. Specifically,
emission where electron/hole recombination occurs. LEDs                   certain described elements and steps can be omitted, or
can be of two main types: horizontal and vertical. In a                   others can be substituted or added to that which is described
horizontal LED, the substrate is electrically isolating such as           herein for the sake of illustration without materially affect-
sapphire, whereas the substrate in vertical LED is a con-                 ing the scope of the present disclosure and inventions.
ducting material such as SiC or GaN.                                 45      FIG. 3 illustrates an exemplary flip-chip method of LED
   FIG. 2 depicts an exemplary LED die 20 with a reflective               manufacturing in preparation of wafer level processing prior
layer 26 in a horizontal construction. In one embodiment,                 to LED die 10 adhesion to silicon wafer 31. In one embodi-
the reflective layer 26 comprises a silver (Ag) or aluminum               ment, silicon wafer 31 is coated with a reflective material,
(Al) conductive metal pad which is deposited and patterned                such as, gold (Au), aluminum (Al), silver (Ag), or a dielec-
on the top of the wafer. In the present embodiment, the              50   tric stack. The coating serves two purposes. It reflects light
reflective layer is electrically isolated. In that, the conductive        energy in the generally orthogonal direction away from the
metal pad passes no current. Alternatively, the reflective                silicon wafer 31. And, it also acts as an efficient thermal
layer 26 can connect to electrical conductive fingers which               coupling by conducting heat away from the LED die 10. In
provide efficient current distribution to the surface of the              one embodiment, the coating can cover the entire wafer with
LED. In this configuration, reflective layer 26 can be in            55   holes for the electrical pads.
electrical communication with p-type pad 23 or replace it                    In a preferred embodiment of the present invention, the
entirely.                                                                 coating is designed to cover the LED undersurface except
   In another embodiment, two media (25, 26) of increasing                for areas of electrical pads nor the area designed to be the
indices of refraction are used as to reflect light back through           thermally conducting connection, which will be discussed in
GaN layers 21 and sapphire substrate 22. Transparent elec-           60   greater detail later. Referring to FIG. 3, the coating is
trade 25 is fabricated from a transparent electrode material,             patterned and deposited on the silicon wafer 31 engendering
such as, indium tin oxide (ITO) or zinc oxide (ZnO). In some              peripheral reflectors 34, 35 disposed proximately to spacers
embodiments, transparent electrode 25 conveys electric                    32, 33, respectively. The coating and/or peripheral reflectors
power to GaN layers 21 and covers the whole LED area.                     34, 35 can be patterned to provide die attach marks.
Reflective surface 26 and transparent electrode material 25          65      The coating is preferably made of metal, such as, Al, Au,
have thicknesses of0.5-5 microns. N-type pad 24 and p-type                Ag, Cu or other conducting material. It should be noted that
pad 23 is also fabricated to provide optical reflections as we            state of art method of electrode formation includes depos-
         Case 6:21-cv-00292-ADA Document 1-3 Filed 03/25/21 Page 18 of 20


                                                     US 9,502,612 B2
                              7                                                                       8
1tmg a SiO2 or other electrically insulating and optically             the light, or enhance the mechanical dexterity of the process.
transparent layer on top of the P and exposed N layers. This           In an additional embodiment, the package can be finalized
layer is then exposed using photolithography and chemical              without a cover layer. In this embodiment, the Silicone can
etching to reveal the layers in specific locations which               also include optical elements such as lenses, diffractive
become the electrical and thermal contact pads. The metal is      5    optical patterns, or gratings. These structures will provide
then deposited on top the insulating layer and electrical              optical functions such as focusing, specific light distribution,
contact is facilitated in the exposed portions. Other state of         anti reflective properties, light collection or polarization
art techniques include selective doping of contact areas to            filtering or reflection. If injection molding is used to create
reduce electrical resistivity.                                         the encapsulated Silicone, the optical patterns can be part of
    The metal contact can have a plurality of metal constitu-     10   the mold. In another embodiment, the carrier wafer has no
ents each with a specific purpose, e.g. light reflection, heat         side reflectors, 32 in FIG. 3, and the encapsulation provides
conduction, adhesion to the GaN layers or matching the                 a continuous layer of material on the carrier wafer.
work function of the GaN layers. In another embodiment,                    The LEDs are individually assembled on a carrier wafer,
the metal cover can be composed of two or more, electrically           with the sapphire layer facing the carrier wafer layer. An
isolated parts. One part(s) is electrically connected to the      15   optically transparent cover made of glass, polymer or other
p-layer and provides electrical contact as well as thermal             materials is then attached to the wafer top. The carrier wafer
contact, and the other part(s) provide optical reflection and          layer of optically transparent can include other optical
thermal connection.                                                    components such as lenses or light diffusing structures or
    The LED can also be without a reflector layer, and can be          light guiding structures. In one embodiment the lens shape
of different types such as a vertical LED, or a die attach LED    20   is created by the surface tension of a drop of polymer or
in which both contacts are at the bottom side of the LED.              silicone material. In another embodiment the lens is created
    FIG. 4 portrays an exemplary LED package 40 with                   by hot embossing of a polymer which is applied to one side
silicone encapsulated peripheral reflectors. LED die 10 is             of the carrier wafer. The carrier wafer may be further
affixed to the silicon wafer 31 using a nonconductive epoxy,           patterned to create specific drop shapes, sizes and desired
or silicone adhesive. An example of such a material is Shin       25   surface qualities.
Etsu KER-3100-M2 or Epotek ND353. In one embodiment,                       The system may be coupled to other optical elements as
the adhesive layer 41 comprises, at least in part, material            would be appreciated by those skilled in the art. One or more
optimized to provide both heat conduction as well as light             optical lens or assembly of optical lenses, Fresnel layers,
reflection, diffusion or transparency.                                 filters, polarizing elements, or other members can be used to
    For example, a zinc oxide (ZnO) or boron nitride (BN)         30   further affect the quality of the light provided by the LED
filler can be applied to the adhesive layer 41. LED light is           device.
reflected at the interface between LED and adhesive layer 41               In another embodiment, there is an air cavity between the
when reflective material is chosen. Transparent or diffusive           cover and the LED active layer. The air cavity provides a
adhesive layer(s) 41 pass light from the diode which gets              high thermal resistance and reduces the temperature in the
reflected back towards the silicone encapsulation 42 of the       35   cover. The reduced temperature increases the lifetime of
peripheral reflectors. The present embodiment can also be              phosphor or quantum dot material. To create the air cavity,
used in conjunction with a LED reflector chip 20 in accor-             a photo definable material is deposited on the cover sub-
dance with the detailed description of FIG. 2. As a metric for         strate.
suitable performance, heat conductions of 3 W/mK or more                   The photo definable material can be solder mask material
is sufficient. Adhesive layer 41 can also be designed to be       40   or photoresist, such as, BCB, SUS, or other suitable polymer
easily removed in an etching or ashing process.                        materials known in the art. After deposition, the cavity is
    In other embodiments, the LED die 10 is attached to metal          defined and imaged leaving material at the cavity boundaries
bumps using eutectic bonding. The metal bumps are laid out             to support the contact to the LED active surface. Additional
and deposited as part of the peripheral reflectors 34, 35 but          such cavities can be defined and multiple cover substrates
patterned to create electrically isolated regions. As             45   can be used to define cavities for the phosphor material as
described, the metal is deposited on a dielectric layer which          well as for optical elements such as lenses or diffusers. In
provides electrical isolation from the electrical pads to the          one embodiment the lens shape is created by the surface
silicon carrier 30. The dielectric can be silicon oxide (SiO),         tension of a drop of polymer or silicone material. The cover
silicon nitride (SiN), or other inorganic thin films. The layer        substrate may be patterned to create specific drop shapes,
can also be a thin film of organic material, such as, poly-       50   sizes and surface qualities. The glass can be loaded with
imide or solder mask. The resultant structure in the present           phosphor material during production. The glass may also
embodiment comprises juxtaposed strata of silicon carrier,             include particles to induce light diffusion.
dielectric, and metal layers.                                              The cover substrate is bonded to the LED active layer
    LED package 40 further comprises silicone encapsulation            using epoxy, silicone or BCB or other suitable material. In
42 and photoluminescent layer 43. Silicone encapsulation 42       55   additional embodiments, the package can be done without a
is an optically transmissive layer filling all voids on the            cover substrate. In this case the top most layer would be the
carrier wafer by creating a surface coplanar to the silicon            encapsulant Silicone layer or the encapsulant and Phosphor
substrate. Photoluminescent layer 43 is comprised of phos-             filler layer. As described above, the encapsulant layer can
phor or quantum dot material enable the conversion of the              also include optical elements such as lenses.
light generated by the LED to other colors. The most              60       FIG. 5 illustrates an exemplary etching view during wafer
common is the use of phosphor to enable White light from               processing. After attaching the cover substrate 54 to the LED
a blue LED. The Silicone encapsulation can be applied using            package 50, the distal side silicon wafer 31 is ground to a
screen printing, spin coating, spray coating, injection mold-          thickness of less than 100 microns. Reducing the thickness
ing or other similar process. In an additional embodiment,             of the silicon enhances the thermal conductance of the LED
the encapsulation can be composed of one or more layers,          65   package 50 and reduces the temperature of the LED during
with different refractive indexes or other optical, mechanical         operation. The process of back grinding induces wafer stress
or thermal properties in order to reduce reflectance loss of           that can propagate into the bulk of the wafer causing it
         Case 6:21-cv-00292-ADA Document 1-3 Filed 03/25/21 Page 19 of 20


                                                      US 9,502,612 B2
                               9                                                                      10
weaken. After grinding, a stress relief is etched in plasma              shadow mask to prevent formation of the passivation in the
and vias (holes) 51, 52 are etched in the distal side of the             thermal hole. In this case, prior to passivation, the area
silicon wafer 31.                                                        designated as the thermally conductive hole 53 is covered
   There are two types of geometrical reliefs which are                  using a shadow mask 71. Shadow mask 71 comprises any
evident in the FIG. 5 profile of the LED package 50, which          5    suitable material which can be patterned with the substan-
is provided by way of illustration. Those skilled in the art             tially same dimensions and location as the thermally con-
will appreciate that the present examples can be generalized             ductive hole 53. Exposed vias 51, 52 are areas to be
and applied to other specific designs and uses. The first type           passivated. Where there are area not to designated for
is a via (hole). A via is an electrical connection between               passivation, blocking material 72 is patterned and deposited,
layers in a physical electronic circuit that goes through the       10   or vise-versa.
plane of one or more adjacent layers. Electrical connection                 FIG. 8 illustrates an exemplary method of passivating the
vias 51,52 are etched through the remainder of the silicon               carrier side of a LED package 80 according to one embodi-
wafer 31 and adhesion layer 41 to provide pathways to the                ment of the present invention. Passivation layer 81 applied
electrical pads 55, 56 in the LED package 50. Via diameters              to the distal side of the silicon wafer 31. The shadow mask
are in between 10 to 150 microns and preferably greater than        15   71 and blocking material 72 is then selectively removed, as
60 microns. Via angles range from 45 to 90 degrees and                   is known in the art. In another embodiment, the shadow
preferably between 60 and 70 degrees.                                    mask 71 is foregone and the passivation layer can be
   A second type of geometrical relief is a thermally con-               selectively patterned after deposition.
ducting hole 53 pursuant to the present invention. Thermally                In one embodiment, the passivation layer is a photo
conducting hole 53 is etched through the remainder of the           20   imageable material such as WLP 32, or other solder mask
silicon wafer 31 and at least part of adhesion layer 41 in a             like material. In this case, the use of standard photo lithog-
location proximate to the GaN layers of the LED package                  raphy masks, imaging system, and developing process will
50. It preferably displaces much of the silicon and adhesive             result in holes both for the thermal via as well as electrical
volume proximate the LED die. In one embodiment, the                     VJaS.
surface area displacement of thermally conducting hole 53 is        25      In another embodiment, a hard mask layer is deposited on
250000 microns 2 . In others, the area can be greater than 700           the passivation material. The hard mask can be a metal such
microns by 700 microns. As indicated, the etching is per-                a Al, or isolating material such as SiN or SiO2. The mask
formed until reaching the adhesive layer 41                              layer may to be applied at a low temperature process which
   In an embodiment, all of exposed adhesive layer 41 is                 will not damage the polymer Passivation layer. The mask
removed. This can be accomplished using the silicon reac-           30   layer can be thick enough so that the passivation layer can
tive ion etch used with silicon wafer 31 or by changing the              be etched without dimension changes in the mask layer. In
chemistry to an oxygen rich etch (ashing). More specifically,            most cases 1-5 micron should suffice. A photo resist is
since the adhesive layer is either an epoxy based or Silicone            deposited on the mask layer and patterned. The mask layer
based layer, it is expected that that chemistry used for via             is then patterned using a selective wet etch so that only the
etching, namely SF4 or SF 6 , will not be effective in etching      35   mask material is removed. Then the underlying passivation
the adhesive layer. In case the adhesive layer is composed of            layer and potentially die attach adhesive layer is etched. In
Silicone, then adding 0 2 to the SF4 or SF 6 process can result          most cases the etching would be done in 0 2 plasma.
in an anistropic etch of the adhesive layer. Alternatively, the             The passivation layer 81 is a nonconductive layer com-
adhesive layer is removed in a second process of only 0 2                prising SiO2, SiN, AlN, Al2O3 or organic material, such as,
plasma. Alternatively, the removal of the adhesion layer 41         40   epoxy, or electrophoretic deposited paint as used in the car
can also be executed using a wet chemical etch or other                  industry or spray coating. Passivation layer 81 thickness
suitable means which is known in the art. In the embodiment              ranges from 1 to 40 microns, depending on the material and
where the LED die has a reflective layer 26, the metal layer             required electrical passivity. Alternatively the passivation
can act as etch stop layer, in another embodiment the LED                layer is a thermally conductive layer such as SiN or AlN
passivation layer such as Si0 2 , will act as the etch stop layer   45   which is used to minimize the thermal conductance of the
In the context of the embodiment where thermal conduc-                   package.
tance of the adhesion layer 41 is above 1 W/mK, some of the                 The passivation layer is also removed to enhance the heat
adhesion layer 41 can remain in the thermally conducting                 conduction of the LED. Hence to optimize the heat conduc-
hole 53. Also if the adhesive is designed to be highly                   tance, a maximal contact should be made between the metal
reflective such as a Silicone with Zinc Nitride particles, and      50   and metal pads on the LED and the metal layer. This is done
there is no reflector layer on the LED, it may be desired to             by opening the largest possible area on the passivation layer
leave 1-5 microns of the adhesive                                        and preferably greater than 80%. If the LED is designed with
   FIG. 6 depicts an exemplary orthogonal view of the LED                a thermal pad structure then the P connection can be
package 60 as seen from the side of the silicon wafer 31 after           connected to thermal and P pad or alternatively three metal
etching vias 51, 52 and thermal conduction hole 53. As is           55   connections are facilitated, N, P and thermal.
common in LED packaging, LED die 10 comprises two                           In another embodiment, the passivation is also removed in
n-type electrical pads 61 and on p-type electrical pad. As               areas where there is no metal layer, only the electrically
previously enumerated, any of the shown elements can have                insulating layer. This can occur, if instead of the LED
some type of reflective composition in addition to the                   described previously, a standard LED is used in which the
property of high thermal conductivity.                              60   metal covers only a small portion of the top of the LED. In
   FIG. 7 illustrates an exemplary profile view of the LED               this case the metal layer deposited in this stage will provide
package 70 during wafer processing showing masking                       the heat removal and light reflection. In this manner, the
placements. After etching, a passivation layer will be applied           exposed portions of the LED will extend beyond the metal
to the distal side of the silicon wafer 31. he passivation layer         areas. The newly deposited metal will again cover substan-
is typically an organic material and hence not a good heat          65   tially all of the LED structure.
conductor. It would be desired to remove the passivation                    In another embodiment, if the electrical passivation layer
layer from the thermal via. In one embodiment, we use a                  is optically reflecting and heat conducting the layer may be
         Case 6:21-cv-00292-ADA Document 1-3 Filed 03/25/21 Page 20 of 20


                                                     US 9,502,612 B2
                              11                                                                       12
 maintained and the metal passivation will cover substan-              materials including polymers with heat conducting fillers
 tially all the LED area but will make a direct connection to           such as Ag, BN, SiN, AlN, and others.
 the LED metal pads, and in other areas the connection layers             The present invention should not be considered limited to
 would be through the passivation layer, i.e. the layer stack          the particular embodiments described above, but rather
would be, LED, LED passivation layer, packaging passiva-          5
                                                                        should be understood to cover all aspects of the invention as
tion layer which provides low thermal resistance and light             fair)y set out in the attached claims. Various modifications,
reflection, packaging metal for heat conduction.                       eqmvalent processes, as well as numerous structures to
    FIG. 9 illustrates an exemplary wafer 90 with metal seed           whi~h the present invention may be applicable, will be
 layer 91 patterned thereto. In preparation for the metal              readily apparent to those skilled in the art to which the
 deposition, some of the passivation layer 81 must be             10
                                                                       present invention is directed upon review of the present
removed so that electrical and thermal contact can be made             disclosure. The claims are intended to cover such modifi-
with the pads. Electrical and thermal contact holes are                cations and equivalents.
 drilled through the passivation layer until reaching the metal           What is claimed is:
                                                                          1. A light emitting device, comprising:
pad. If a laser is used, the laser can either stop at the metal
pad (blind via) or cut through the pad and the electrical         15      a substrate having opposing first and second substrate
 connection would then be done using the pad side wall                       surfaces;
thickness. A plasma etch can also be used to create the                   a semiconductor LED including doped and intrinsic
contact holes in the same processing step as the etch for the                regions thereof, said semiconductor LED having
thermal connection, If SiN or SiO2 are in passivation.                       opposing first and second LED surfaces, said first LED
    The metal seed layer 91 comprises aluminum, titanium,         20
                                                                             surface disposed on the first substrate surface;
chrome, nickel, palladium, platinum, copper or combina-                   a thermally conductive layer disposed on the second LED
tions thereof. Metal seed layer 91 is deposited using sput-                  surface of the semiconductor LED;
tering or other suitable means. In one embodiment alumi-                  a carrier wafer disposed on the thermally conductive
num is initially deposited as the metal seed lay~r 91 to                     layer;
provide good reflectivity from the LED surface towards the        25
                                                                          at least one optically reflective surface disposed between
LED backside and output from the LED package 90.                             said carrier wafer and said semiconductor LED· and
    FIG. 10 demonstrates an exemplary orthogonal view of                  a substantially optically transmissive layer di~posed
the wafer 100 with metal patterned thereto. Metal seed layer                 proximal to the second substrate surface,
can be patterned using electrophoretic deposited photo                    wherein the carrier wafer and the thermally conductive
resist, spray coating resist, or thick resist. The resist is      30
                                                                             layer define a relief to expose at least a portion of the
patterned to create the electrical routing connections and                   second LED surface.
under bump metallization, as well as the metallization for                2. The light emitting device of claim 1, said at least one
th~ heat conducting element. After patterning the resist, a            optically reflective surface comprising metal.
thick metal layer (between 10 and 40 microns) is plated in                3. The light emitting device of claim 1, said at least one
the predetermined pattern, such as, metal strips 101, 102,        35
                                                                       optically reflective surface comprising a dielectric stack.
103. The resist is removed, and the bare seed layer is etched             4. The light emitting device of claim 1, wherein said
by using a wet metal etch.                                             semiconductor LED is affixed to said carrier wafer with an
    FIG. 11 demonstrates an exemplary orthogonal view of               adhesive material which has the property of high thermal
the wafer 110 showing solder masking 111. The heat con-                conductivity.
duction element is a direct metal connection from a signifi-      40
                                                                          5. The light emitting device of claim 1, wherein said
cant portion of the area of the LED to the printed circuit             semiconductor LED is affixed to said carrier wafer with an
board to which the LED is attached.                                    adhesive material which has the property of optical diffu-
    FIG. 12 illustrates an exemplary LED package 120, where            sion.
the recess of the thermal connection is filled with metal. One            6. The light emitting device of claim 1, wherein said
embodiment of filling metal or metal laden polymer can            45
                                                                       semiconductor LED is affixed to said carrier wafer with an
done using a screen printing process akin to the process               adhesive material which has the property of optical reflec-
w~ere solder bumps are made in standard BGA packages. In               tion.
this technology, solder paste, which is a polymer laden with              7. The light emitting device of claim 1, wherein said
Tin )s applied in a screen printing machine. The print is              semiconductor LED is affixed to said carrier wafer with an
applied to selected areas, in this case the thermal holes. A      50   adhesive material which has the property of optical trans-
further reflow process may be done, in which the polymer               missivity.
material is evaporated and the shape of the Tin (Sn) or other             8. The light emitting device of claim 1, further comprising
metal may be changed by melting it into the desired thermal            at least one spacer attached to said carrier wafer whereby
via recess. in this case the thermal via recess will be filled         said at least one optically reflective surface is affix~d thereto'.
with metal. In another embodiment, the metal may be               55      9. The light emitting device of claim 1, said thermally
applied in the manner of a Solder ball which is dropped in             conductive layer comprises metal.
place from suitable machines. Such machines are known in                  10. T~e light emitting device of claim 1, said thermally
the art and used in Ball Grid Area (BGA) electronic pack-              conductive layer comprises an organic material with a
ages. After dropping the ball in place, the material can again         physical property of high thermal conductivity.
be reflowed, to occupy the thermal recess. Alternatively, the     60
                                                                          11. The light emitting device of claim 1, wherein the relief
structure can be reflowed as part of the SMT assembly                  has a surface area displacement of 250,000 square microns.
process. The metal filler 121, is shown in FIG. 12. The metal             12. The light emitting device of claim 1, wherein the relief
can be any of state of art BGA balls such as Sn96.5 Ag3.0              has a surface area displacement of at least 700 microns by
Cu0.5, or other corn positions of Sn, Ag, Cu, or Sn Pb Ag              700 microns.
com positions. The filler can also be other heat con ducting                                   *   *   *    *   *
